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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
- EASTERN DIVISION FILED

Brian Beard, JUL 25 200%
(P)
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Judge:Pamela Barker
Magistrate:

Tunnell et al.,

(D)
Case No. 23-cv-02389

OBJECTION TO THE MAGISTRATE’S REPORT
CONSOLIDATED WITH MOTION TO DISMISS CASE WITHOUT PREJUDICE

Now comes the plaintiff and OBJECTS TO THE MAGISTRATE’S REPORT, for the reasons
that:

It is well settled law that an individual cannot represent a corporation. Realizing this (P) was
in search of an altorncy to appcar at phone conference but could not find one. For this reason (P)
moves to dismiss this action “without prejudice” rather than “with prejudice”, as improvidently
filed,

Per FACTS of case same rewritten hercin, the (P) was attempting to represent a corporation.
This case should have been dismissed by court before service without prejudice as an individual
is not allowed to represent a corporation.

“legal concept in criminal cases where an individual has the right to legal counsel or,

alternatively, to represent themseives. .. It may be tempting to think that this right is extended to
corporations since, in United vy. FEC, 558 U.S. 310 (more) - 130 S. Ct. 876; 175 L, Ed. 2d 753;

201 (but it does not) the Supreme Court ruled that corporations as an entity are considered

people, which gives them the right to spend money in a way that aligns with their values and
beliefs. But rather, the opposite is true. It has been legally established that a corporation or LLC
cannot represent itself in court proceedings but must appear through an attorney. The idea that a
corporation cannot represent itself in court comes from Merco Constr. Engineers, Inc. v.
Municipal Court (1978) 21 Cal. 3d 724, 789.This idea has been upheld since that time.

There are three rationales for this ruling including:

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1. Since many corporations and L1.Cs are special entities with multiple shareholders
insulated from personal responsibility, the court requires a single designated
spokesperson who can be held accountable. Additionally, this distinction helps to
maintain the wall between the corporation as an entity and its individual shareholders,

directors...”

Hence, even the filing of this matter, signed by a non-attorney is void, void ab initio, and (P)
prays to dismiss “without prejudiced” rather than “with prejudice” for the reasons stated by the
magistrate as the (P) could not legally appear at the telephone conference pro’se purporting to
represent a corporation.

Wherefore (P) prays for an order dismissing case without prejudice. As the 7/15/24 ruling
now stands dismissal is “with prejudice”. A “with prejudice” ruling would deny (P) “access to
the courts” under 1*, 6", 14" Amendment to address issues with an attorney on a case that was

“void ab initio” per the facts as (P) could not legally represent a corporation.

Respectfully submitted,
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CERTIFICATE OF SERVICE

A copy of this motion has becn served on the attorney for the defendant John McLandrich, ct al.,
100 Franklin’s Row 34305 Solon Rd., Cleve., OH 44139 by US mail postage prepaid 7/25/24

For same (P) prays.
